      Case 2:18-cv-00112-JCC Document 15-3 Filed 04/04/18 Page 1 of 3




                             Exhibit 3




DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 16
            Case 2:18-cv-00112-JCC Document 15-3 Filed 04/04/18 Page 2 of 3




                                               WORKFORCE SUMMIT
                                                 NsŘǼǋĶɟȕŘÞɚsǋǣÞǼɴʹǢǼȖ_sŘǼȕŘÞŸŘDȖÞĶ_ÞŘ¶ʺ
                                                 rĵĵrŗǢDȕǊµ
                                                 ǻÌȖǋǣ_ɴʰğŘȖǋɴˡ˧ʰˡ˟ˠ˥ʿ˨ʳŎʳ˚ˣʲ˟˟ƼʳŎʳ       
AGENDA
˧ʲˢ˟˚˨ʲ˟˟      ǊrµÝǢǻǊǻÝŷŗˀDŷŷǻËǢ

˨ʲ˟˟˚˨ʲˡ˟      ɟrĵNŷōrʹDĶĶǋŸŸŎN˓^ʰǢsOŸŘ_®ĶŸŸǋʺ
                ğȖĶÞǻȖǣŸŘʰNÌÞs¯ŷƼsǋǼÞŘ¶ŷ¯¯ÞOsǋʰɠ¯Ķ
                ōŸŘǼǣsɟĶĨsǋʰµȖsǣǼɠŸǋĨsǋƻǋŸ¶ǋŎǣōŘ¶sǋʰɠ¯Ķ
                


                ¶sŘ_ŸɚsǋɚÞsɠʳ

˨ʲˢ˟˚ˠ˟ʲˣˤ     DǋsĨŸȖǼˠ˚ǻÌsĵs¶ĶɟŸǋĨsǋƻǋŸ¶ǋŎ˗ʳʹDĶĶǋŸŸŎN˓^ʰǢsOŸŘ_®ĶŸŸǋʺ
                ËsǋÞNÌƼȖĶʰ®ÞsĶ_ǢsǋɚÞOsǣōŘ¶sǋʰɠ¯Ķ
                µȖÞĶĶsǋŎŸōǼÌȖǣʰƻǋsǣÞ_sŘǼʰNǢÝ
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                ʹ¯ÞǋǣǼǼÞŎsË˚ˡȖǣsǋǣʺ
                ĵsǋŘEŸȖǼǼÌsƼǋŸ¶ǋŎŘ_ǋsǇȖÞǋsŎsŘǼǣǣɠsĶĶǣÌŸɠɠ¯ĶŎĨsǣǼÌsĵs¶ĶɟŸǋĨsǋ
                ƻǋŸ¶ǋŎ˗ɠŸǋĨʳɟ¯ĶǣŘǣǣŸOÞǼÞŸŘOŘŸ¯¯sǋȖŘÞǇȖsOŸǣǼǣɚÞŘ¶ǣŸƼƼŸǋǼȖŘÞǼÞsǣŘ_
                ŸŘ˚ǣÞǼsǼǋÞŘÞŘ¶ǣƼǋǼŸ¯ŸȖǋǼȖǋŘĨsɴƼǋŸ¶ǋŎʳ


                DǋsĨŸȖǼˡ˚Ȗ_ÞǼÞŘ¶ɴŸȖǋƼǋŸ¶ǋŎʳʹˠˢ˦ʰ®ÞǋǣǼ®ĶŸŸǋʺ
                ^Ř®ʊÞŸʰ^ÞǋsOǼŸǋʰɠ¯Ķ



                ʹsŎƼĶŸɴsǋǣɠÞǼÌˠ˚ˡɴsǋǣŸ¯sɮƼsǋÞsŘOsÞŘË˚ˡʺ
                ɟsɠÞĶĶɠĶĨɴŸȖǼÌǋŸȖ¶ÌǼÌsɚǋÞŸȖǣ¶ŸɚsǋŘŎsŘǼ¶sŘOÞsǣ˅ǋŸĶsǣÞŘË˚ˡŘ_sɮƼĶÞŘ
                ÌŸɠɠsOŸŘ_ȖOǼǣsĶ¯Ȗ_ÞǼǣʳ

                DǋsĨŸȖǼˢ˚_ɚŘOs_ǻŸƼÞOǣ˓NǣsǢǼȖ_Þsǣʳʹˠˢ˦Eʰ®ÞǋǣǼ®ĶŸŸǋʺ
                ĵsŸŘǢsǇȖsÞǋʰrŎƼĶŸɴŎsŘǼǼǼŸǋŘsɴ
                ōŸŘǼǣsɟĶĨsǋʰµȖsǣǼɠŸǋĨsǋƻǋŸ¶ǋŎǣōŘ¶sǋʰɠ¯Ķ 



                ʹsɮƼsǋÞsŘOs_Ë˚ˡsŎƼĶŸɴsǋǣ˚_ÞǣOȖǣǣÞŸŘ¶ǋŸȖƼʺ
                ÝŘ_sƼǼÌ_ÞǣOȖǣǣÞŸŘŸ¯ǋs¶ȖĶǼŸǋɴǋsǇȖÞǋsŎsŘǼǣŸ¯ǼÌsƼǋŸ¶ǋŎŘ_OǣsǣǼȖ_ÞsǣǋsĶǼÞŘ¶
                ǼŸOŸŎƼĶÞŘOsʳ


ˠˠʲ˟˟˚ˠˠʲˢ˟    ǢŸȖǼÌŸ¯ǼÌsDŸǋ_sǋǼŸɴŸȖǋ®ǋŎʳʹDĶĶǋŸŸŎN˓^ʰǢsOŸŘ_®ĶŸŸǋʺ
                µȖÞĶĶsǋŎŸōǼÌȖǣʰƻǋsǣÞ_sŘǼʰNǢÝəÞǣƻǋŸOsǣǣÞŘ¶
                ǊŸɮŘōOÞǣʰ^ÞǋsOǼŸǋŸ¯NŸŎƼĶÞŘOsʰNǢÝəÞǣƻǋŸOsǣǣÞŘ¶



                NǢÝəÞǣƻǋŸOsǣǣÞŘ¶ʰEǣs_ÞŘ^ȖǋŘ¶ŸōsɮÞOŸɠÞĶĶ_ÞǣOȖǣǣǼÌs¯ŸǋsÞ¶ŘɠŸǋĨsǋǋsOǋȖÞǼŎsŘǼ
                ƼǋŸOsǣǣÞŘōsɮÞOŸʰǣɠsĶĶǣǼÌsÞǋǋŸĶsÞŘOŸŎƼĶɴÞŘ¶ɠÞǼÌǋsOǋȖÞǼŎsŘǼǋsǇȖÞǋsŎsŘǼǣʳ


ˠˠʲˢ˟˚ŗŸŸŘ     ǢƼss_^ǼÞŘ¶
                DŸŸǼÌƼǋǼÞOÞƼŘǼǣɠÞĶĶǼsĶĶɴŸȖɠÌɴǼÌsÞǋEŸŸǼÌÞǣˆOŘ˅ǼŎÞǣǣˇʵ 




                                                                                                     PLS 000138
    DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
    PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
    VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 17
      Case 2:18-cv-00112-JCC Document 15-3 Filed 04/04/18 Page 3 of 3

                                   Speaker Bios
             ÝɚŘğȖǋs¶ȖÞleads the H2A Tax Program at Moss Adams LLP. Prior to working for Moss Adams
             LLP, Ivan earned his law degree at the Universidad La Salle in Mexico and worked several years as an
             aƩorney in InternaƟonal Trade and Customs Law. AŌer moving to the United States, Ivan earned his
             Master’s in Tax Law at the University of Washington and worked in the University of Washington
             Federal Tax Clinic. Currently Ivan focuses his pracƟce in Federal Income Tax and tax compliance. 



             ǊŸɮŘōOÞǣis the Director of Compliance for CSI Visa Processing. Her role is to ensure all parƟes involved in re-
             cruitment of H2 workers abide by all applicable laws and regulaƟons. Roxana worked as the Guest Worker Program Manager
             for waﬂa for nearly three years, assisƟng H2 employers in navigaƟng complex federal regulaƟons. Having grown up in the
             Yakima Valley in a family of farm workers, Roxana is passionate about agricultural employment issues. Prior to serving waﬂa
             members, Roxana worked for two years in the Washington State Employment Security Department (ESD), Labor Market and
             Economic Analysis division on employer agricultural surveys, aŌer earning a Bachelor’s of Science in PoliƟcal Economics from
             the University of Washington. 



             µȖÞĶĶsǋŎŸōǼÌȖǣ is the President of CSI Visa Processing. Guillermo has been working with H2
             employers and workers for over 13 years. His primary role at CSI is the recruitment and evaluaƟon of
             new and potenƟal candidates for temporary H2 posiƟons. His experience with program regulaƟons,
             familiarity with growing regions throughout Mexico, and ability to idenƟfy able, willing, and qualiﬁed
             laborers has contributed to the success of growers throughout the United States. 



             ĵsŸŘǢsǇȖsÞǋÞǣŘǼǼŸǋŘsɴŘ_EȖǣÞŘsǣǣOŸŘǣȖĶǼŘǼ¯ŸǋsŎƼĶŸɴsǋǣŘ_Ǽǋ_sǣǣŸOÞǼÞŸŘǣOǋŸǣǣ
             ǼÌsOŸȖŘǼǋɴʳōȖOÌŸ¯ÌÞǣɠŸǋĨÞŘɚŸĶɚsǣÌsĶƼÞŘ¶sŎƼĶŸɴsǋǣŘɚÞ¶ǼsǼÌsOŸȖŘǼĶsǣǣÞǣǣȖsǣǣǣŸOÞǼs_
             ɠÞǼÌsŎƼĶŸɴÞŘ¶Ë˚ˡŘ_Ë˚ˡDǼsŎƼŸǋǋɴɠŸǋĨsǋǣʰÞŘOĶȖ_ÞŘ¶_s¯sŘ_ÞŘ¶sŎƼĶŸɴsǋǣÞŘ¶ŸɚsǋŘŎsŘǼȖ˚
             _ÞǼǣŘ_ĶÞǼÞ¶ǼÞŸŘʳËsĶǣŸ_ɚÞǣsǣOĶÞsŘǼǣŸŘĶs¶ÞǣĶǼÞɚsʰǋs¶ȖĶǼŸǋɴŘ_ƼȖEĶÞOƼŸĶÞOɴŎǼǼsǋǣOŸŘOsǋŘ˚
             ÞŘ¶ĶEŸǋʰsŎƼĶŸɴŎsŘǼŘ_ÞŎŎÞ¶ǋǼÞŸŘʳËsƼǋsɚÞŸȖǣĶɴǣsǋɚs_ǣǣǣÞǣǼŘǼǢsOǋsǼǋɴŸ¯ĵEŸǋ_ȖǋÞŘ¶
             ǼÌsǣsOŸŘ_ǼsǋŎŸ¯ǼÌsµsŸǋ¶sɟʳDȖǣÌ_ŎÞŘÞǣǼǋǼÞŸŘʳ


             ğȖĶÞǻȖǣŸŘÞǣǼÌsNÌÞs¯ŷƼsǋǼÞŘ¶ŷ¯¯ÞOsǋ¯Ÿǋɠ¯ĶʰŸɚsǋǣssÞŘ¶ĶĶƼǋŸ_ȖOǼǣŘ_ǣsǋɚÞOsǣŸ¯ǼÌsǣǣŸOÞ˚
             ǼÞŸŘʳğȖĶÞÞǣOȖǋǋsŘǼŎsŎEsǋŘ_¶ǋ_ȖǼsŸ¯ǼÌsɟ¶®ŸǋsǣǼǋɴĵs_sǋǣÌÞƼƻǋŸ¶ǋŎʳƻǋÞŸǋǼŸĠŸÞŘÞŘ¶
             ǼÌsɠ¯ĶǼsŎʰğȖĶÞÌŘ_Ķs_ƼȖǋOÌǣÞŘ¶ŸƼsǋǼÞŸŘǣÞŘǼÌsɠŸŸ_ƼǋŸ_ȖOǼǣÞŘ_ȖǣǼǋɴ¯ŸǋŸɚsǋˡ˟ɴsǋǣʳǢÌs
             ǣƼsOÞĶÞʊsǣÞŘǼsŎŎŘ¶sŎsŘǼŘ_ǣĶsǣʰɠÞǼÌ¯ŸOȖǣŸŘOȖǣǼŸŎsǋǋsĶǼÞŸŘǣʳǢÌsĶŸŸĨǣ¯Ÿǋɠǋ_ǼŸ
             _sɚsĶŸƼÞŘ¶ǋsĶǼÞŸŘǣÌÞƼǣɠÞǼÌɠ¯ĶŎsŎEsǋǣɠÌÞĶs__ǋsǣǣÞŘ¶ǼÌsÞǋËǊŘss_ǣʳ



             ōŸŘǼǣsɟĶĨsǋÞǣǼÌsµȖsǣǼɠŸǋĨsǋƻǋŸ¶ǋŎǣōŘ¶sǋŘ_ÌǣɠŸǋĨs_¯Ÿǋɠ¯Ķ¯ŸǋĶŎŸǣǼǼɠŸ
             ɴsǋǣʳǢÌsĶs_ǣǼsŎŸ¯¯ŸȖǋOOŸȖŘǼrɮsOȖǼÞɚsǣǼÌǼÌŘ_ĶsƼƼǋŸɮÞŎǼsĶɴˠˡ˟Ë˚ˡOOŸȖŘǼǣ
             ɴsǋʰŘ_ÌsĶƼsŎƼĶŸɴsǋǣÞŘɟǣÌÞŘ¶ǼŸŘʰŷǋs¶ŸŘʰNĶÞ¯ŸǋŘÞʰŗsɚ_Ř_Ý_ÌŸʳōŸŘǼǣsÌǣDʳʳÞŘ
             ËÞǣƼŘÞOǢǼȖ_ÞsǣʰŘ_ÞǣƼȖǋǣÞŘ¶ŘōDǼǢÞŘǼōǋǼÞŘ˅ǣȕŘÞɚsǋǣÞǼɴʳƻǋÞŸǋǼŸɠŸǋĨÞŘ¶¯Ÿǋɠ¯ĶʰōŸŘǼǣs
             ɠŸǋĨs_ǣŘÞŘǼsǋƼǋsǼsǋŘ_ǼǋŘǣĶǼŸǋÞŘɚǋÞsǼɴŸ¯ǣsǼǼÞŘ¶ǣʳōŸŘǼǣsǣƼsOÞĶÞʊsǣÞŘOŸŎƼĶÞŘOsɠÞǼÌ
             sŎƼĶŸɴŎsŘǼŎǼǼsǋǣʰŘ_ÌǣŘÞŘǼsǋsǣǼÞŘÞŎŎÞ¶ǋǼÞŸŘŘ_ĶEŸǋƼŸĶÞOɴʳ




                                                                                                                          PLS 000140
DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 18
